                          CaseMA
    45 (5/97) - (Revised U.S.D.C. 1:15-cr-10323-IT
                                    3/25/2011)            Document 1-1 Filed 10/28/15 Page 1 of 4
Criminal Case Cover Sheet                                                             U.S. District Court - Distnct of Massachusetts


Place of Offense:                      Category No.            JL                    Investigating Agency

City       Andover                                    Related Case Information:

County        Essex                      •            Superseding Ind./ Inf.                            Case No.
                                                      Same Defendant                             New Defendant
                                                      Magistrate Judge Case Number
                                                      Search Warrant Case Number
                                                      R 20/R 40 from District of

Defendant Information:


Defendant Name        Daniel Gibson                                               Juvenile:                       Yes      No

                      Is this person an attorney and/or amember of any state/federal bar:                          Yes •       No
Alias Name

Address               CCitv & State) Andover, MA

Birth date (Yr only): '957       (last4#): 7'39          Sex               Race: Caucasion             Nationality: USA

Defense Counsel if known:              Martin Weinberg                               Address 200 Park Plaza


Bar Number              519480                                                                   Suite 1000
                                                                                                 Boston, MA 02116
U.S. Attorney Information:

AUSA         Stephen Heymann                                              Bar Number if applicable            558486

Interpreter:          []] Yes     [7] No                       List language and/or dialect:
Victims:              |V [Yes | [No Ifyes, are there multiple crime victims under 18 USC§3771(d)(2)                    • Yes        No
Matter to be SEALED:             \7} Yes          •       No
         [^Warrant Requested                          Q Regular Process                               In Custody
Location Status:


Arrest Date


[^Already in Federal Custody as of                                                     in


[^Already in State Custody at                                            I [Serving Sentence                     waiting Trial
I IOn Pretria! Release: Ordered by:                                                         on



Charging Document:                I IComplaint                      I [information                    0 Indictment
Total #ofCounts;                  [ |Petty                          I IMisdemeanor                    [71 Felony —
                                        Continue on Page 2 for Entiy of U.S.C. Citations

0        I hereby certify that the case numbers ofany prior proceedings before a Magistrate Judge are
        accurately set forth above.

Date:     October 28, 2015                   Signature of AUS^
                           Case 1:15-cr-10323-IT Document 1-1 Filed 10/28/15 Page 2 of 4
 JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


 District Court Case Number (To be filled in by deputy clerk):
 Name of Defendant                Daniel Gibson

                                                                      U.S.C. Citations

                  Index Key/Code                                     Description of Offense Charged         Count Numbers
                                                      Filing False Tax Return
 Sell      26 use 7206(1)                                                                             1,2

                                                      Conspiracy
 Set 2     18U.S.C. 371


 Set 3



 Set 4



 Sets



 Set 6



 Set 7



 Set 8



 Set 9



 Set 10



 Set 11



 Set 12



 Set 13



 Set 14



 Set 15

ADDITIONAL INFORMATION:




USAMA CRIM- Criminal Case Cover Shee(.pdf 3/4/2013
                             CaseMA1:15-cr-10323-IT
. «a.JS45 (5/97) - (Revised U.S.D.C, 3/25/2011)          Document 1-1 Filed 10/28/15 Page 3 of 4
'Criminal Case Cover Sheet                                                           U.S. District Court - District of Massachusetts


Place of Offense:                       Category No.          JL                    Investigating Agency

City       Andovcr                                   Related Case Information:


County        Essex                                  Superseding Ind./ Inf.                            Case No.
                                                 Same Defendant                                 New Defendant
                                                     Magistrate Judge Case Number
                                                     Search Warrant Case Number
                                                     R 20/R 40 from District of

Defendant Information:


Defendant Name         Mark Kesner                                               Juvenile:                   •   Yes 13 No
                       Is this person an attorney and/or amember ofany state/federal bar:                        Yes •     No
Alias Name

Address                fCitv & State) Canton, MA

Birth date (Yronly):         SSN 0ast4#): i973          gex               Race: Caucasion             Nationality: PSA

Defense Counsel if known:               Joshua Solomon                              Address 133 Federal Street


Bar Number               657761                                                                 Suite 1902
                                                                                                Boston, MA 02110
U.S. Attorney Information:

AUSA         Stephen Heymann                                             BarNumber if applicable             658486

Interpreter:                Yes      0 No                     List language and/or dialect:
Victims:               |^ |Yes | |No Ifyes, are there multiple crime victims under 18 USC§3771 (d)(2)                 • Yes 0 No
Matter to be SEALED:              \7\ Yes        •       No
          [2]W3rrant Requested                            Regular Process                            In Custody
Location Status:


Arrest Date


[^Already in Federal Custody as of                                                    in


[^Already in State Custody at                                           Q]]Serving Sentence              I Kwaiting Trial
[]^On Pretria! Release:       Ordered by:                                                  on



Charging Document:                   I IComplaint                  I [information                    0 Indictment
Total #of Counts:                    | |Petty                      I [Misdemeanor                            Felony    —

                                         Continue on Page 2 for Entry of U.S.C. Citations

0         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

Date:      Ociober28,2015                   Signature of A
                          Case 1:15-cr-10323-IT Document 1-1 Filed 10/28/15 Page 4 of 4
•JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


 District Court Case Number (To be filled in by deputy clerk):
 Name of Defendant               Mark Kesner


                                                                      U.S.C. Citations

                 Index Kev/Code                                      Description of Offense Charged         Count Numbers
                                                      Filing False Tax Return
 Set 1     26 use 7206(2)                                                                             3,4

                                                      Conspiracy
 Set 2     18U.S.C.371


 Set 3



 Set 4



 Set 5



 Set 6



 Set?



 Set 8



 Set 9



 Set 10



 Set 11



 Set 12



 Set 13



 Set 14



 Set 15

ADDITIONAL INFORMATION;




USAMA mv/- Criminal Case Cover Sheel.pdf 3/4/2013
